Case 3:13-cv-00253-ARC Document1 Filed 02/04/13 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Mark Danisavich, FILED ELECTRONICALLY

Plaintiff
Vv.

Penncro Associates, Inc.,

 

Defendant

 

COMPLAINT
I. Introduction

1. This is an action for damages brought by an individual
consumer for violations of the Fair Debt Collection Practices Act, 15 U.S.C.
§ 1692, et seq. (“the Act”) which prohibits debt collectors from engaging in
abusive, unfair, and deceptive practices.

II. Jurisdiction and Venue

2. Jurisdiction of this Court is proper pursuant to 15 U.S.C.

§ 1692k(d), which permits an action under the Act to be brought in any
court of competent jurisdiction.

3. Venue in this district is proper in that Defendant transacts
business here and the conduct complained of is alleged to have occurred
here.

III. Parties

4. Plaintiff, Mark Danisavich, is a natural person residing at 480
Case 3:13-cv-00253-ARC Document1 Filed 02/04/13 Page 2 of 6

W. Frack St., Frackville, PA 17931.

5. Defendant, Penncro Associates, Inc., (“the Collector”) is a
corporation engaged in the business of collecting debts in this state with a
place of business located at 105 Montgomery Ave., Phoenixville, PA 19460

and is a “debt collector” as defined by the Act, 15 U.S.C. § 1692a(6).

IV. Statement of Claim

6. | Within the past year the Collector was attempting to collect an
alleged account (“the Account”) from Plaintiff.

7. The Account is a “debt” as that term is defined by the Act, 15
U.S.C. § 1692a(5).

8. The Collector regularly uses the mails to attempt to collect
consumer debts alleged to be due another.

9. Onor about April 4, 2012, the Collector caused to be mailed a
letter addressed to Plaintiff (“the Letter”).

10. Atrue and correct copy of the Letter is attached as Exhibit A.
(Redacted to comply with Fed.R.Civ.P. 5.2(a), LR 5.2 and/or ECF
Procedures 14.1.)

11. The Letter was an attempt to collect the Account.

12. The Letter contained the statement “Total Balance

Due:$19,699.91.” The Letter did not state the date on which the amount
Case 3:13-cv-00253-ARC Document1 Filed 02/04/13 Page 3 of 6

allegedly due was calculated, and did not explain that interest would
continue to accrue on unpaid principal.

13. The Letter could reasonably be read to have two different
meanings, one of which is inaccurate. The Letter could have meant that
accruing interest and the total amount due were calculated on the date that
the Letter was written.

14. Alternatively, the Letter could have meant that the amount of
the debt was static and that no interest or other fees were accruing to the
account. Under such an interpretation, payment of the claimed amount
would satisfy the debt in full, irrespective of when the payment was made.

15. The claimed balance continued to increase after the date of the
letter.

16. Thus, the interpretation identified in { 14 was false, in violation
of 15 U.S.C. §§ 1692e(2)(A) and (e)(10). See Michalek v. ARS National
Services, Inc., 2011 WL 6180498 (M.D. Pa. December 13, 2011)(Caputo).

17. Defendant violated the Act.

WHEREFORE, Plaintiff demands judgment against Defendant for
damages, costs, attorney’s fees, and such other and further relief as the

Court deems just and proper.
Case 3:13-cv-00253-ARC Document1 Filed 02/04/13 Page 4 of 6

V. Demand for Jury Trial

Plaintiff demands a trial by jury as to all issues so triable.

Respectfully Submitted,

s/ Kristin Sabatini
Kristin Sabatini

Bar Number 200135

Attorney for Plaintiff

Sabatini Law Firm, LLC

216 N. Blakely St.

Dunmore, PA 18512

Phone (570) 341-9000
Facsimile (570) 504-2769

Email ksecf@bankruptcypa.com
Case 3:13-cv-00253-ARC Document1 Filed 02/04/13 Page 5 of 6

Verification of Complaint and Certification
by Plaintiff Mark Danisavich
Plaintiff, Mark Danisavich, being duly sworn according to law,

deposes as follows:
1. Tama plaintiff in this civil proceeding.

2. [have read the above-entitled civil Complaint prepared by my
attorneys and I believe that all of the facts contained in it are true, to the
best of my knowledge, information and belief formed after reasonable
inquiry.

3. I believe that this civil Complaint is well grounded in fact and

warranted by existing law or by a good faith argument for the extension,

modification, or reversal of existing law.

4. I believe that this civil Complaint is not interposed for any
improper purpose, such as to harass the Defendant, cause unnecessary
delay to the Defendant, or create a needless increase in the cost of litigation

to the Defendant, named in the Complaint.

5. _ Thave filed this civil Complaint in good faith and solely for the

purposes set forth in it.
Case 3:13-cv-00253-ARC Document1 Filed 02/04/13 Page 6 of 6

6. If applicable, each and every exhibit I have provided to my
attorneys which has been attached to this Complaint is a true and correct

copy of the original.

7. Except for clearly indicated redactions made by my attorneys
where appropriate, I have not altered, changed, modified, or fabricated
these exhibits, except that some of the attached exhibits may contain

exhibit labels and some of my own handwritten notations.

I declare under penalty of perjury that the foregoing is true and

correct. 28 U.S.C. § 1746(2).

 

 

Executed on / of) Z, , 2012.
Mark Danisavich

Plaintiff
